       Case 1:25-cv-10498-RGS           Document 37        Filed 03/31/25      Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

 HAITIAN-AMERICANS UNITED INC.;
 VENEZUELAN ASSOCIATION OF
 MASSACHUSETTS; UNDOCUBLACK
 NETWORK, INC.; SYDNEY DOE; MARLENE
 DOE; GUSTAVO DOE; and NATALIA DOE,
                                                          Civil Action No. 25-cv-10498
                               Plaintiffs,

                       v.

 DONALD J. TRUMP, in his official capacity as
 President of the United States; U.S. DEPARTMENT
 HOMELAND SECURITY; and KRISTI NOEM, in
 her official capacity as Secretary of the Department
 of Homeland Security,

                                 Defendants.


                                      AFFIDAVIT OF SERVICE

       1.      I am over the age of eighteen and am not a party to this litigation.

       2.      On March 6, 2025, I sent a copy of all Summonses and Complaint for the above-

captioned matter by certified mail to each of the Defendants and the United States Attorney

General at the following addresses:

            a. Defendant Donald J. Trump
               1600 Pennsylvania Ave. NW,
               Washington, DC 20500;

            b. Defendant Kristi Noem
               United States Department of Homeland Security
               Office of Chief Counsel
               245 Murray Lane
               Mail Stop 0485
               Washington, DC 02528;




                                                 1
       Case 1:25-cv-10498-RGS             Document 37     Filed 03/31/25     Page 2 of 2




           c. United States Department of Homeland Security
              Office of Chief Counsel
              245 Murray Lane
              Mail Stop 0485
              Washington, DC 02528;

           d. U.S. Attorney’s Office for the District of Massachusetts
              1 Courthouse Way, Suite 9200
              Boston, MA 02210; and

           e. Attorney General of the United States
              U.S. Department of Justice
              950 Pennsylvania Avenue NW
              Washington, DC 20530.

   2. All documents were sent certified mail, return receipt requested (Exhibit A).

I swear and affirm the foregoing upon best information and belief, under the pains and penalties

of perjury this 31st day of March 2025.




                                                    ___________________________
                                                    Sophia Hall




                                                2
